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                    UNITED STATES DISTRICT COURT
                    EASTERN DISTRICT OF LOUISIANA


IN RE: OIL SPILL BY                          CIVIL ACTION NO. 10-8888
“DEEPWATER HORIZON”
                                             SECTION J

                                             MAGISTRATE 1


                            NOTICE OF SUBMISSION


      PLEASE TAKE NOTICE that the Motion to Withdraw as Counsel of

Record filed by DAVID C. JARRELL will be submitted to the Honorable Carl J.

Barbier, United States District Judge for the Eastern District of Louisiana on April

25, 2012 at 9:30 o’clock a.m.

                                Respectfully submitted,

                                LAW OFFICES OF DAVID C. JARRELL
                                A PROFESSIONAL LAW CORPORATION



                                BY: /s/ David C. Jarrell
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   Case 2:10-md-02179-CJB-DPC Document 6182-1 Filed 04/05/12 Page 2 of 2




                               CERTIFICATE OF SERVICE

       I hereby certify that on the 5th day of April, 2012, I electronically filed the

foregoing with the Clerk of Court by using the CM/ECF system, which will send a notice

of electronic filing to all counsel registered for electronic service. I further certify that I

have served a copy of the foregoing pleading on all parties to this proceeding not

registered for electronic service, by e-mailing, faxing, and/or mailing the same by United

States mail, properly addressed and first class postage prepaid.


/s/ David C. Jarrell
DAVID C. JARRELL
